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Attorney for Plaintiff Fifteen Meters, LLC



                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF OREGON
                                       EUGENE DIVISION



BRYAN ORRIO and KEELEY M.
McCALLUM,                                             Case No. 6: 18-CV-00883-AA

                       Plaintiff,
       v.
                                                      STIPULATED GENERAL
DICK'S SPORTING GOODS, INC., a                        JUDGMENT OF DISMISSAL
Pennsylvania corporation,

                       Defendant.


DICK'S SPORTING GOODS, INC., a
Pennsylvania corporation,

                       Third-Party Plaintiff,

        v.

JOHNSON OUTDOORS, INC.,

                      Third Party-Defendant.



       The claim(s) by Plaintiffs Orrio and McCallum and Third-Party Plaintiff Dick's Sporting

Goods, Inc., have voluntarily resolved claims against all defendants and so the parties hereby

stipulate to dismiss this matter with prejudice and without attorney fees or costs to any party.


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       IT IS SO STIPULATED:


SWANSON LATHEN PRESTWICH, PC                       CHOCK BARHOUM, LLP

       lsi Travis S. Prestwich                            lsi John Barhoum
By: ___________________________                    By: __________________________
Travis S. Prestwich, OSB #003617                   John Barhoum
Attorney for Plaintiffs Orrio & McCallum           Attorney for Defendant/Third-Party Plaintiff
Dated: September 5, 2019                           Dicks
                                                   Dated: September 5, 2019

QUARLES & BRADY LLP

      lsi Patrick S. Nolan
By: ___________________________

Patrick S. Nolan (pro hac vice)
Of Attorneys for Third-Party Defendant
Johnson Outdoors Inc
Dated: September 5, 2019


BODYFELT MOUNT, LLP

      lsi Jamie T. Azevedo
By:
Jamie T. Azevedo, OSB No. 050370
Of Attorneys for Third-Party Defendant
Johnson Outdoors Inc

September 5, 2019


       Based on the stipulation of the parties above, the Court hereby dismisses this matter with

prejudice and without attorney fees or costs to any party.

       IT IS SO ORDERED.

       Dated: _____________, 2019.




                                                         U.S. District Court Judge Ann Aiken


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